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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,
                                                           CASE NO. 1:18-CR-99
v.
                                                           HON. ROBERT J. JONKER
MARK ANDREW McMICHAEL,

               Defendant.
                                     /


               ORDER RESCHEDULING FINAL PRETRIAL AND TRIAL

        The final pretrial conference is rescheduled from September 27, 2018 to October 23, 2018

at 4:00 p.m. Jury trial is rescheduled from October 16, 2018 to November 6, 2018 at 8:30 a.m.




Date:    September 24, 2018                         /s/ Robert J. Jonker
                                                    ROBERT J. JONKER
                                                    CHIEF UNITED STATES DISTRICT JUDGE
